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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-

 v.                                                   HON. AMIT P. MEHTA

 Google LLC,

                                Defendant.


      PLAINTIFFS’ STATUS REPORT AND PROPOSAL FOR PROTECTIVE ORDER

        The Parties met and conferred regarding the appropriate scope of the protective order that

should govern this action but were unable to reach complete agreement. The Parties agreed as to

a number of factors, but there were two main elements in dispute. The primary issue involves in-

house counsel access to sensitive materials. The United States and Plaintiff States (collectively,

“Plaintiffs”) propose allowing third parties to designate their most sensitive confidential

information as “highly confidential,” which would prevent access to those materials by Google’s

in-house counsel absent consent or a court order. Google proposes a protective order that would

provide designated Google in-house counsel with unfettered access to third parties’ most

competitively sensitive information. To protect competition, the Court should adopt Plaintiffs’

proposal. A second issue involves whether Google is entitled to advanced notice if its materials

are used in other matters; because such use is fully consistent with the law, the Court should not

require the notice sought by Google.

        This case challenges the conduct of a monopolist—and one of the world’s largest

companies—based on extensive and significant anticompetitive conduct. Adopting Google’s

proposal would undermine third parties’ confidence in the treatment of their confidential


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information, chill third-party cooperation in current and future Government investigations, and

unfairly advantage Google in the marketplace if third-party confidential information is disclosed

or used.

          Plaintiffs’ proposed Protective Order is structured to protect the interests of these third

parties but also would not hamper Google’s ability to defend itself. The proposed limitations on

disclosure allow in-house counsel access to confidential but less competitively-sensitive

materials. It would also give unfettered access to Google’s outside counsel, who have nearly a

decade of experience defending the company against similar actions around the world.

          As such, Plaintiffs respectfully request that the Court enter the proposed Protective Order

attached as Exhibit A. 1

I.        BACKGROUND

          During the course of Plaintiffs’ investigations, third parties produced highly sensitive

business information, including (a) strategic analyses, (b) plans for negotiating complex business

relationships, including with Google, and (c) highly sensitive commercial agreements. Many of

these third parties are Google’s customers, competitors, or distribution partners, and as the

complaint alleges, a number have been the targets of Google’s anticompetitive conduct.

          Many third parties routinely negotiate with Google; the internal preparation for these

negotiations—some of which are ongoing—is reflected in documents produced to Plaintiffs. Not

surprisingly, these communications contain extremely sensitive competitive information. Many

third parties, compelled to produce documents during Plaintiffs’ investigations, expressed

concern about the potential for disclosure to Google, a company that by any measure wields

enormous power in the marketplace. These third parties provided information to Plaintiffs on the


1
    For ease of review, attached as Exhibit B is a comparison of the Parties’ proposals.


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understanding their documents and data would be protected from unnecessary disclosure.

Moreover, many documents produced by third parties relate to products and conduct that

ultimately have not been put at issue in this litigation.

II.    ARGUMENT

       A.      Litigation Instigated by the Government Frequently Proceeds with
               Protective Orders That Limit In-House Access to Highly Confidential
               Information

       The Court should adopt Plaintiffs’ Protective Order because it better protects third parties

from the possibility that their sensitive information will be used by Google for a competitive

advantage or to punish them. Disclosure to inside counsel is not a legal or practical imperative,

and litigation brought by the Government frequently proceeds with protective orders that limit

in-house counsel’s access to third-party confidential information. 2 In many of these cases, the

court entered protective orders providing a two-tiered approach to confidentiality (like the one in

Exhibit A) that provides a mechanism by which third parties can preclude particularly sensitive

information from in-house counsel review. 3 Indeed, courts in this district have allowed an even


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 See, e.g., Stipulation and Protective Order at 9, United States v. Microsoft Corp., No. 98-cv-
1232, Dkt. No. 928 (D.D.C. May 27, 1998) (access to highly confidential material restricted to
outside counsel); United States v. Anthem, Inc., No. 16-cv-1493, 2016 WL 11164026, *4
(D.D.C. Sept. 15, 2016) (“does not permit disclosure to Defendants’ in-house counsels”).
3
 See, e.g., Stipulated Protective Order Concerning Confidentiality at 9, United States v. US
Airways Group, Inc., No. 13-cv-01236, Dkt. No. 55 (D.D.C. Aug. 30, 2013); Stipulated
Protective Order at 11-12, United States v. Sabre Corp., No. 19-cv-01548, Dkt. No. 24 (D. Del.
Sept. 10, 2019); Stipulated Protective Order at 12-13, United States v. Bazaarvoice, Inc., No. 13-
cv-00133, Dkt. No. 35 (N.D. Cal. Mar. 4, 2013); see also Stipulation and Protective Order at 12,
United States v. American Express Company, et al., No. 10-cv-4496, Dkt. No. 102 (E.D.N.Y.
April 7, 2011) (excluding in-house counsel from being able to access materials designated as
Highly Confidential); Stipulated Protective Order at 10, Fed. Trade Comm’n v. Vyera
Pharmaceuticals, et al., No. 20-cv-00706, Dkt. No. 92 (S.D.N.Y. April 20, 2020) (same);
Amended Protective Order Regarding Confidentiality at 15-16, United States v. Carolinas
Healthcare System, No. 16-cv-311, Dkt. No. 57 (W.D.N.C. Oct. 16, 2017) (same); Stipulated
Protective Order at 11, United States v. Twin America, LLC, et al., No. 12-cv-8989, Dkt. No. 29
(S.D.N.Y. March 14, 2013) (same).


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stricter approach to confidentiality. For example, in FTC v. Whole Foods Mkt., Inc., the court

limited in-house counsel to draft and final versions of court filings, transcripts, and expert

reports—including portions of such filings that quoted or paraphrased “Confidential [] Material”;

but in-house counsel could not see underlying discovery material, including any exhibits,

designated as “Confidential.” No. 07-1021, 2007 U.S. Dist. LEXIS 53567 *4-5 (July 6, 2007)

(emphasis added); see also United States v. AB Electrolux, 1:15-cv-01039, Dkt. 140 (Oct. 05,

2016 D.D.C).

        In issuing a protective order in this case, the Court should adopt an approach consistent

with that of other courts in this district in cases with similar potential risks to third parties.

Indeed, in cases where courts have allowed even limited disclosure to in-house counsel, courts

first required that the party seeking such disclosure make certain showings. Google’s proposed

protective order does not require such showings, and for that reason it should be rejected.

        B.      Defendant Has Not Demonstrated a Need for In-House Counsel to Have
                Unrestricted Access to Third-Party Confidential Information

        In determining whether to allow disclosure of third-party confidential information, courts

must balance the need for in-house counsel to have such access against the risk of inadvertent

disclosure. United States v. Aetna Inc., No. 16-cv-1494, 2016 U.S. Dist. LEXIS 191730, *17

(D.D.C. Sept. 5, 2016) (denying request to modify protective order to provide in-house counsel

access) (denying defendant’s motion to modify the protective order to allow for in-house counsel

disclosure). 4 In Aetna, the court considered, among other things, (a) the sensitive nature of the


4
  The Aetna court later provided that defendants could make a motion to a special master
requesting in-house disclosure by identifying the specific third-party whose information was
needed, noticing said third party, and demonstrating that specified in-house counsel would not be
involved in defendants’ competitive decision making. See Second Am. Protective Order at 11,
United States v. Aetna Inc., No. 16-cv-1494, Dkt. No. 132 (D.D.C. Sept. 30, 2016).



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confidential information to be disclosed, (b) the appropriateness of the designated in-house

counsel gaining access, (c) the litigation needs of the party requesting in-house counsel

disclosure, and (d) the deterrent effect on third-party cooperation in future Government

investigations. See id. *17-33.

       Given the highly factual nature of this analysis, “courts not surprisingly have arrived at

different results.” Silversun Indus. v. PPG Indus., 296 F. Supp. 3d 936, 939 (N.D. Ill. 2017).

Here, given the highly-sensitive nature of the third-party confidential information and potential

adverse effects on future Government investigations, the risk of inadvertent disclosure greatly

outweighs Google’s desire for in-house counsel’s blanket access to third-party information.

               1.      The confidential nature and broad scope of the information produced in
                       this case necessitates strong protections

       Given the nature of Plaintiffs’ investigations, much of the information produced by third-

parties contains highly sensitive competitive information. See, e.g., Complaint at ¶¶ 34, 47, 61,

94, 102, 108, 140. For example, Google’s competitors produced assessments of the resources

needed to develop and maintain a search engine, and strategic plans related to rival voice

assistants, and other commercially sensitive information and strategy related to competing

products to Google. That these third parties were “not targets of government action,” yet

compelled “to give up exceedingly confidential information in response to a government

[investigative request],” strongly weighs against in-house counsel disclosure. See Aetna, 2016

U.S. Dist. LEXIS 191730 at *20 (quoting Fed. Trade Comm’n v. Advocate, 162 F. Supp. 3d 666,

671-72 (N.D. Ill. 2016)). Google’s proposal would allow in-house counsel to have access to all

of the third parties’ commercially sensitive information. 5 There is simply no basis for allowing


5
 Google’s proposed protective order only limits in-house counsel by requiring the use of a
secure electronic data room or document review platform.


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this unfettered access.

       Google mistakenly relies on the protective order issued in Fed. Trade Comm’n v. Sysco

Corp., 83 F. Supp. 3d 271, 275 (D.D.C. 2015). But this is not a merger case. Instead, it involves

challenging a monopolist based on allegations of anticompetitive conduct aimed at some of the

third parties that produced information to Plaintiffs.

       The information at issue here is far more competitively sensitive than in Sysco. Sysco

involved a merger of two wholesale food distributors whose businesses deployed trucks and

provisioned warehouses; in contrast, this case addresses anticompetitive conduct involving a

range of agreements between Google and third parties. See id. Many of these agreements involve

complex ongoing interactions between Google and third parties—including interactions that

involve contract interpretation and disputes which often involve in-house lawyers. Disclosure of

this information is potentially much more damaging to the third parties, who must negotiate and

deal with, or compete against, Google. Sharing of confidential future-looking strategy documents

with in-house counsel is also a particular concern here as part of Google’s monopoly strategy is

to squash potential competition in its incipiency, including in next generation technology.

       Given the nature of the third-party confidential information produced in this case, the

heightened risk of injury to these third parties, and Google’s dominant position in the

marketplace, Defendant must show sufficient need for in-house counsel to access this highly

confidential information. As described below, Google cannot make this showing.

               2.         There must be a process to determine whether designated in-house
                          counsel can have access to confidential information

       The Court should not permit in-house counsel access to highly sensitive materials,

without a showing of need and an evaluation of in-house counsels’ proximity to competitive

decision-making. As courts recognize, “analysis of the risk of inadvertent disclosure involves a



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careful and sensitive assessment of the entire setting in which in-house counsel functions[.]”

Advocate, 162 F. Supp. 3d at 669 (citing U.S. Steel Corp. v. United States, 730 F.2d 1465, 1468

(Fed. Cir. 1984)). 6

        Google’s proposed protective order provides no mechanism by which a “careful and

sensitive assessment” can take place. Instead, Google simply asserts that its in-house counsel

will certify that they are not involved in competitive decision making. That is not enough. See id.

(“[M]erely insisting that one is not ‘involved in competitive decision-making’ cannot pretermit

inquiry into the underling facts or serve as a shibboleth the mere invocation of which permits

access to Highly Confidential information.”). The better approach is reflected in Plaintiffs’

proposed Protective Order. This approach allows the Court to assess whether permitting

Google’s designated in-house counsel to view highly confidential and confidential information

would present an unacceptable, unnecessary risk of inadvertent disclosure in a manner which is

consistent with the caselaw of this district. See, e.g., Aetna, 2016 U.S. Dist. LEXIS 191730.

        Plaintiffs’ concerns do not assume bad intent or mischief on the part of designated in-

house counsel. “The issue is that of inadvertent disclosure, and whether an unacceptable

opportunity for inadvertent disclosure exists . . . must be determined . . . by the facts on a

counsel-by-counsel basis[.]” U.S. Steel, 730 F.2d at 1468. Because Google’s proposed protective

order ignores the “complex inquiry” courts recognize as necessary in determining access by

designated in-house counsel, Advocate, 162 F. Supp. 3d at 669, the Court should reject Google’s

proposal.



6
  In other cases, Google argued that disclosure of its materials to certain in-house counsel must
be strictly limited because of their proximity to competitive decision-making. See Joint Ltr.
Regarding Oracle’s Req. for In-House Counsel Access to AEO Information T 9, Oracle Am.,
Inc. v. Google, Inc., Case No. 3:10-cv-03561 (N.D. Cal. May 18, 2011).


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                3.      Granting Google’s in-house counsel wholesale access to confidential
                        information is not necessary or appropriate

        There is no reason Google’s in-house counsel needs access to all third-party confidential

information for Google to litigate this case. And, of course, Google cannot demonstrate such a

need at this point “in the abstract, without reference to any particular information or document,

particularly when the information that is being withheld concerns companies that the in-house

counsel do not represent.” Aetna, 2016 U.S. Dist. LEXIS 191730, at *28 (rejecting defendants’

vague assertions of need, where defendants had retained highly qualified and sophisticated

outside counsel with experience in similar cases.); see also Advocate, 162 F. Supp. 3d at 672

(“[G]iven the extraordinarily sophisticated, experienced and talented counsel in this case, the

critical question is: why is it ‘essential,’ as the defendants put it, that in-house counsel, as

opposed to outside counsel, review [third party confidential information]?”).

        Here, Google has retained highly qualified outside counsel. Indeed, Google’s lead

counsel have represented Google in high-profile antitrust lawsuits and investigations for years. 7

There is no question these outside counsel, along with their colleagues, have the resources and

experience necessary to sift through and analyze the most sensitive third-party documents.

“Requiring a party to rely on its competent outside counsel does not create any ‘undue or

unnecessary burden.’” Intel Corp. v. VIA Technologies, Inc. 198 F.R.D. 525, 528 (N.D. Cal.

2000). 8 Moreover, “preventing in-house counsel from viewing [highly] confidential information



7
  See, e.g., Jan Wolfe, Meet the lawyers behind the U.S. versus Google antitrust showdown,
REUTERS, Oct. 20, 2020, https://www.reuters.com/article/us-tech-antitrust-google-lawyers/meet-
the-lawyers-behind-the-u-s-versus-google-antitrust-showdown-idUSKBN2752M0.
8
  See also Akzo N.V. v. U.S. Intern. Trade Comm’n, 808 F. 2d 1471, 1482-83 (Fed. Cir. 1986)
(rejecting as “groundless” Akzo’s arguments that denying in-house counsel access to
confidential information “deprived it of its rights to confrontation, to rebuttal, and to effective
assistance of counsel”).


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does not prevent them from assisting Defendant[’s] retained counsel. To the contrary, in-house

counsel may certainly assist outside counsel—they must just rely upon redacted versions of

submissions, expert reports and exhibits.” Aetna, 2016 U.S. Dist. LEXIS 191730, at *29 (citing

Sysco, 83 F. Supp. 3d at 3). “To the extent that outside counsel require in-house counsel

assistance with respect to particular documents, nothing prevents outside counsel from

requesting that in-house counsel have access to that particular information based upon more

specific and compelling grounds than are present at this juncture.” Id.

               4.      Defendant’s proposed protective order deters third-party cooperation and
                       undermines future Government investigations

       Disclosing to Google the most sensitive materials of third parties would chill cooperation

with future antitrust investigations and harm future enforcement efforts to the detriment of

American consumers. See Akzo, 808 F. 2d at 1483 (“Disclosure of sensitive materials to an

adversary would undoubtedly have a chilling effect on the parties’ willingness to provide the

confidential information essential to the [Government’s] fact-finding processes.”).

       Third parties may reasonably fear economic harm if Google learns their competitive

secrets. Google exercises enormous market power, and protecting sensitive, competitive third-

party information from disclosure within Google is crucial to the Government’s ability to

investigate anticompetitive conduct. Google’s alleged exclusionary conduct includes (a) limiting

manufacturers from distributing devices that do not comply with Google’s technical standards,

(b) precluding partners from preloading rival search engines and from setting competing voice

assistants as the default, and (c) positioning itself to control the new search access points on

emerging technologies. See Complaint at ¶¶ 54, 78, 81, 140, 160. Exposing sensitive third-party

information to Google’s employees undermines third parties’ incentives and willingness to

engage with the Government to keep markets competitive.



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       C.      The Significant Risks this Action Entails Supports Additional Safeguards.

       The Plaintiffs’ proposal contains measures meant to ensure that in-house counsel does not

use confidential, third-party information during or after this litigation to give Google an unfair

advantage. Of note, the proposal defines “competitive decision-making” so that Google cannot

take advantage of the vagueness of that. Furthermore, the proposed protective order imposes a

personal penalty on in-house counsel if he or she violates the protective order. This adds teeth to

the penalty provision as Plaintiffs are doubtful that a general penalty (that applies to Google) will

have any deterrent effect on a company that has been subject to million- and billion-dollar

penalties for violating consent decrees, antitrust laws, and privacy regulations.

       Conversely, the Court should reject the penalty provision in Google’s draft, which would

apply the penalty provision to federal and state agencies, and their attorneys. In Sysco and Whole

Foods—where the penalty provision originated—the concern being addressed by the court was

with improper use by in-house counsel. Federal and state agencies are simply not in a position to

use confidential information for competitive purposes. Applying the penalty to Google, and not

to Plaintiffs, merely recognizes that reality.

       Lastly, the Court should reject Google’s proposal that Plaintiffs must disclose use of

Google’s materials for other legitimate enforcement purposes. There is no basis for such a

provision other than to advantage Google in separate, unrelated matters. Requiring notice to

Google under a protective order in this matter would contradict the Plaintiffs’ authority, reveal

sensitive unrelated investigative activity, and undermine legitimate law enforcement.

                                          CONCLUSION

       For the foregoing reasons, the Plaintiffs ask the Court to reject Google’s proposed

protective order, and enter the Protective Order Plaintiffs have attached as Exhibit A.




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Dated: November 13, 2020            Respectfully submitted,

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